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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                               CLERK’S MINUTES


CASE NO. 5:23-mc-1                                                   DATE: 11/15/2023

TITLE: Coalition for Good Governance, et al. v. Coffee County Board of Elections and
Registration

HONORABLE BENJAMIN W. CHEESBRO                  COURTROOM DEPUTY: KIM MIXON

COURT REPORTER: BWC-CHAMBERS                 TIME: 1:30-2:33     TOTAL: 1 hr./3 min.


MOVING PARTY:                                          COUNSEL:

Coalition for Good Governance                          Bruce P Brown
                                                       Cary Ichter

Donna Curling                                          Halsey G. Knapp, Jr.

RESPONDING PARTY:                                      COUNSEL:

Coffee County Board of Elections                       Benjamin Mason Perkins
and Registration                                       Jennifer Dorminey Herzog
                                                       Wes Parker Rahn

TELEPHONIC STATUS CONFERENCE

Telephonic status conference held to discuss ongoing discovery dispute.
The dispute concerns information on responding party’s desktop computer, currently in
possession of the GBI; information stored on a silver laptop, possibly owned by the former
Coffee County Election Supervisor, Misty Hampton; other items Plaintiffs subpoenaed
from responding party; and a privilege log from responding party.
Responding party has served a subpoena on the GBI for information on desktop computer.
Court has received the parties’ Joint Status Report.
Court hears from parties.
Mr. Ichter states subpoena has been served on Ms. Hampton. Mr. Ichter contends that the
laptop in question is not the personal laptop of Ms. Hampton.
Mr. Perkins states there is no evidence that the laptop was assigned to Ms. Hampton by the
County, i.e., no tagging, evidence of inventory assignment, etc.
Mr. Ichter states Ms. Hampton does not have the laptop that the defense is looking for.
Responding party claims there is video of Ms. Hampton using a silver laptop.
Responding party still exploring the renewing search effort of the laptop.
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Parties are to confer on the possibility of proposed declarations by county officials
regarding the laptop.

As to privilege log, this matter remains unresolved and not ripe for a ruling by the Court at
this time. Parties are to continue to confer on any objections to the privilege log. Court
directs counsel for Responding Party to respond to the portion of the Motion to Compel
regarding the privilege log within 14 days. Movement’s counsel will have 7 days to file
reply.

As to the request for records/request to search documents, it is unclear to Court precisely
what is being asked by Board of Elections. Mr. Ichter for Moveant agrees search terms
should be more defined. Mr. Ichter indicated he furnished preliminary search terms to
defense counsel. Court instructs parties to continue to confer.

Court will set follow up status call for Friday, November 17, 2023.
